Case 4:95-cr-00148-P        Document 511          Filed 01/25/06     Page 1 of 4      PageID 268



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

CHARLES ALLEN HOUSE,                          §
         Movant,                              §
                                              §       CRIMINAL NO. 4:95-CR-148-P
VS.                                           §       (CIVIL NO. 4:06-CV-0052-P)
                                              §
UNITED STATES OF AMERICA,                     §
          Respondent.                         §

                FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                            AND NOTICE AND ORDER

       This cause of action was referred to the United States Magistrate Judge pursuant to the

provisions of 28 U.S.C. § 636(b), as implemented by an order of the United States District Court for

the Northern District of Texas. The findings, conclusions, and recommendation of the United States

Magistrate Judge are as follows:

                             I. FINDINGS AND CONCLUSIONS

                                       A. NATURE OF THE CASE

       This is a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct sentence by a person

in federal custody.

                                            B. PARTIES

       Movant Charles Allen House, Reg. No. 06081-112, is a federal prisoner incarcerated in FCI-

Victorville in Adelanto, California.

       The United States of America is Respondent. No service has issued upon Respondent.

                                       C. PROCEDURAL HISTORY

       Following a jury trial, in which House was found guilty of possession with intent to

distribute methamphetamine, House was sentenced on May 17, 1996, to a term of 360 months’

confinement. See CM/ECF, Criminal Docket for Case # 4:95-CR-148-5, docket entries for February
Case 4:95-cr-00148-P         Document 511         Filed 01/25/06       Page 2 of 4      PageID 269


14, 1996 & May 17, 1996. House’s conviction and sentence were affirmed on direct appeal. Id.,

docket entry for May 9, 1997. House filed his first motion to vacate under § 2255 on March 6, 1998.

Id., docket entry for March 6, 1998. Thereafter, the underlying criminal case was the reassigned to

District Judge Jorge A. Solis. Id., docket entry for March 6, 1998. House’s first § 2255 motion was

denied on September 14, 1998. Id., docket entry for September 14, 1998. House appealed the denial

of his § 2255 motion to no avail. Id., docket entries for October 22, 1998 & June 15, 1999. House

filed a second § 2255 motion on April 28, 2004, which was dismissed without prejudice as

successive without authorization. Id., docket entries for April 28, 2004 & August 5, 2004. The

instant § 2255 motion was assigned to Judge Solis and referred to the undersigned Magistrate Judge.

Id., docket entries for January 17, 2006. By way of the motion, House attacks his conviction and

sentence on substantive grounds. (Motion at 7-8.)

                                           D. DISCUSSION

       As noted, House has filed two previous motions pursuant to § 2255. Before filing a

successive motion, House is required to obtain authorization from the Fifth Circuit Court of Appeals

to file the successive motion. See 28 U.S.C. §§ 2244(b)(3)(A), 2255. House neither asserts nor has

he shown that he has obtained such authorization.

                                    II. RECOMMENDATION

       Therefore, it is recommended that House’s successive § 2255 motion be DISMISSED

without prejudice to his right to file a motion in the Fifth Circuit Court of Appeals for leave to file

a successive motion.

                  III. NOTICE OF RIGHT TO OBJECT TO PROPOSED
                 FINDINGS, CONCLUSIONS AND RECOMMENDATION
                    AND CONSEQUENCES OF FAILURE TO OBJECT

       Under 28 U.S.C. § 636(b)(1), each party to this action has the right to serve and file specific


                                                  2
Case 4:95-cr-00148-P          Document 511         Filed 01/25/06       Page 3 of 4      PageID 270


written objections in the United States District Court to the United States Magistrate Judge’s

proposed findings, conclusions, and recommendation within ten (10) days after the party has been

served with a copy of this document. The court is extending the deadline within which to file

specific written objections to the United States Magistrate Judge’s proposed findings, conclusions,

and recommendation until February 15, 2006. The United States District Judge need only make a

de novo determination of those portions of the United States Magistrate Judge’s proposed findings,

conclusions, and recommendation to which specific objection is timely made. See 28 U.S.C. §

636(B)(1). Failure to file by the date stated above a specific written objection to a proposed factual

finding or legal conclusion will bar a party, except upon grounds of plain error or manifest injustice,

from attacking on appeal any such proposed factual finding or legal conclusion accepted by the

United States District Judge. See Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th

Cir. 1996) (en banc op. on reh’g); Carter v. Collins, 918 F.2d 1198, 1203 (5th Cir. 1990).

                                            IV. ORDER

       Under 28 U.S.C. § 636, it is ORDERED that each party is granted until February 15, 2006,

to serve and file written objections to the United States Magistrate Judge’s proposed findings,

conclusions, and recommendation. It is further ORDERED that if objections are filed and the

opposing party chooses to file a response, a response shall be filed within seven (7) days of the filing

date of the objections.

       It is further ORDERED that the above-styled and numbered action, previously referred to

the United States Magistrate Judge for findings, conclusions, and recommendation, be and hereby

is returned to the docket of the United States District Judge.




                                                   3
Case 4:95-cr-00148-P   Document 511    Filed 01/25/06   Page 4 of 4   PageID 271


     SIGNED January 25, 2006.




                                       /s/ Charles Bleil
                                      CHARLES BLEIL
                                      UNITED STATES MAGISTRATE JUDGE




                                        4
